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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


  FEDERAL TRADE COMMISSION,                                   Case No. 3:19-cv-02281

            Plaintiff,                                        FIRST AMENDED COMPLAINT
                                                              FOR PERMANENT INJUNCTION,
            v.                                                MONETARY RELIEF, CIVIL
                                                              PENALTIES, AND OTHER
  MATCH GROUP, INC., a corporation, and                       RELIEF

  MATCH GROUP, LLC, formerly known as
  MATCH.COM, LLC, a limited liability company,

             Defendants.

       Plaintiff, the Federal Trade Commission (“FTC” or “Commission”), for its Complaint

alleges:

       1.        The FTC brings this action under Sections 5(a), 5(m)(1)(A), 13(b), 16(a), and 19

of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45(a), 45(m)(1)(A), 53(b),

56(a), and 57b, and Section 5 of the Restore Online Shoppers’ Confidence Act (“ROSCA”), 15

U.S.C. § 8404, which authorize the FTC to seek, and the Court to order, permanent injunctive

relief, monetary relief, civil penalties, and other relief for Defendants’ acts or practices in

violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and Section 4 of ROSCA, 15 U.S.C.

§ 8403.

                                   SUMMARY OF THE CASE

       2.        Defendants operate Match.com, an online dating service. Consumers using

Match.com create profiles and communicate using either free, limited services

(“nonsubscribers”) or a broader range of paid services (“subscribers”).




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       3.      Since at least 2013, Defendants have maintained the following five deceptive or

unfair practices to induce consumers to subscribe to Match.com and to keep them subscribed.

First, until mid-2018, Defendants sent consumers misleading advertisements that touted

communications from persons Defendants identified as potentially fraudulent users of

Match.com and led consumers to believe that the communications are from persons interested in

establishing a dating relationship with them. Second, until mid-2018, Defendants exposed

consumers to the risk of fraud by providing recent subscribers access to communications that

Defendants knew were likely to have been sent by persons engaging in fraud. Third, until mid-

2019, Defendants guaranteed certain consumers a free six-month subscription renewal if they

failed to “meet someone special” but failed to disclose the requirements of its “guarantee”

adequately. Fourth, Defendants have misled consumers with a confusing and cumbersome

cancellation process that causes consumers to believe they have canceled their subscriptions

when they have not. Fifth, until mid-2019, when consumers disputed charges relating to any of

these practices and lose the dispute, Defendants denied consumers access to paid-for services.

                                JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

1345, and 1355.

       5.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1), (b)(2), (c)(2), and

(d), 1395(a), and 15 U.S.C. § 53(b).

                                          PLAINTIFF

       6.      The FTC is an independent agency of the United States Government created by

statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also



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enforces ROSCA, 15 U.S.C. §§ 8401-05, which prohibits certain methods of negative option

marketing on the Internet.

       7.      The FTC is authorized to initiate federal district court proceedings, by its own

attorneys, to enjoin violations of the FTC Act and ROSCA and to secure such equitable relief as

may be appropriate in each case, including rescission or reformation of contracts, restitution, the

refund of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b),

56(a)(2)(A), 56(a)(2)(B), 57b, and 8404. The FTC is also authorized to obtain civil penalties for

violations of ROSCA. See 15 U.S.C. § 45(m)(1)(a).

                                         DEFENDANTS

       8.      Defendant Match Group, Inc. is a Delaware corporation with its principal place of

business at 8750 North Central Expressway, Suite 1400, Dallas, Texas 75231. The company

transacts or has transacted business in this District and throughout the United States. Match

Group, Inc. is the parent corporation and sole member of Match Group LLC.

       9.      Defendant Match Group LLC, formerly known as Match.com LLC, is a Delaware

limited liability corporation with its principal place of business at 8750 North Central

Expressway, Suite 1400, Dallas, Texas 75231. The company transacts or has transacted business

in this District and throughout the United States. Match Group, LLC is a wholly owned

subsidiary of Defendant Match Group, Inc. It has no board of directors, and its sole member is

Match Group, Inc. Match Group, LLC has had executive officers who have also been executive

officers of Match Group, Inc.

                                          COMMERCE

       10.     At all times material to this Complaint, Defendants have maintained a substantial

course of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act,

15 U.S.C. § 44.
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                           DEFENDANTS’ BUSINESS PRACTICES

       11.     Defendant Match Group, Inc. is the dominant online dating service provider in the

United States. It controls approximately 25 percent of the online dating market, which is more

than twice the market share of its nearest competitor. Defendant Match Group, Inc. owns,

operates, and controls approximately 45 online dating services, including several of the most

popular services in the United States, such as Tinder, OKCupid, and Plenty of Fish.

       12.     Defendant Match Group, Inc. also owns, operates, and controls the online dating

service Match.com. Moreover, Defendant Match Group, Inc. has represented to investors, the

federal judiciary, and federal regulatory agencies that it operates Match.com. Defendant Match

Group, Inc. operates and controls Match.com in part through wholly owned subsidiaries,

including Match Group, LLC. Defendants primarily generate revenue on Match.com by selling

subscriptions to consumers in 25 countries, including the United States.

       13.     Defendants’ online dating service websites provide consumers a forum where

they can contact and communicate with other like-minded people over the Internet, typically for

the express or implied purpose of developing romantic relationships.

                                            Background

       14.     Defendants and other online dating service providers allow consumers access to

databases of other enrolled consumers to find potential romantic partners, typically based on

certain criteria. These criteria include age, gender, sexual orientation, and location. To facilitate

finding a compatible person, providers typically enable consumers to interact with one another,

often by utilizing Internet-based communications such as email, instant messages, and video or

telephone chat.




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       15.     To use an online dating service, consumers must typically first create profiles that

contain information about themselves. Within these profiles, consumers often are able to upload

pictures and to provide descriptive and personal information that is viewable by other consumers

using the service.

       16.     Online dating services, including Defendants’, are often misused to facilitate

fraud or to promote dubious or unlawful products or services to consumers. Most notably, online

dating services are used to find and contact potential romance scam victims. In these scams, the

perpetrator poses as a suitor and, after establishing a trusting relationship with a consumer,

deceives the consumer into giving or loaning the perpetrator money.

       17.     Consumers have incurred substantial injury from romance scams. Indeed,

consumers’ losses reported to the FTC and FBI between 2015 and 2017 totaled an estimated

$884 million. This figure likely underreports the true scale of consumer harm because many

victims do not report this type of fraud. In addition, because perpetrators of romance scams

manipulate their victims to exploit their trust and goodwill, these crimes cause significant

emotional distress and injury to consumers beyond monetary losses.

                             Defendants’ Match.com Dating Service

       18.     Consumers can purchase Match.com subscriptions in 1-, 3-, 6-, or 12-month

packages, and these packages automatically renew for terms equivalent to the original

subscription length. Alternatively, consumers may establish free “nonsubscriber” user profiles

that allow them to use limited services at no cost. On occasion, consumers may also take

advantage of temporary “free trial” offers, which allow consumers to use services that are

otherwise generally available only to paid subscribers.




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       19.     Consumers using Match.com create online profiles with photographs and other

personal information and can view the profiles of other Match.com users. Consumers create

Match.com profiles and purchase Match.com subscriptions to interact with and to establish

dating relationships with these members. Consumers using Match.com cannot distinguish

nonsubscribers’ profiles from subscribers’ profiles.

       20.     Between 2013 and at least mid-2018, consumers who were considering

purchasing a Match.com subscription were generally not aware that as many as 25-30 percent of

Match.com members who registered each day were using Match.com to perpetrate scams. These

scams include romance scams, stealing consumers’ personal information through “phishing,”

promoting dubious or unlawful products or services, and extortion scams, in which a scammer

will induce a consumer to send the scammer compromising videos or pictures of the consumer

that the scammer then uses to extort money from the consumer by threatening to send the

materials to the consumer’s friends or family.

     Defendants’ Use of Communications from Illegitimate Users to Generate Deceptive
                          Advertisements and Sell Subscriptions

       21.     Nonsubscribers’ ability to communicate with other Match.com users is restricted.

Generally, nonsubscribers have been able to send limited communications, such as “likes” and,

until May 2018, “favorites” and “winks,” to other users, but not any communications with

personalized messages. Subscribers, in contrast, have been able to send other users personalized

“emails” and, until April 2017, “instant messages.”

       22.     Nonsubscribers are also unable to read personalized communications they receive

from Match.com users or to view the identities of users that interact with them through likes or

favorites. Instead, Defendants send nonsubscribers advertisements notifying them of these




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communications and encouraging them to upgrade to paid subscriptions so that they can view

and respond to these communications, and otherwise use all of Match.com’s available features.

       23.     Consumers are often unaware that, in many instances, communications received

through Match.com are not from users interested in establishing dating relationships, but are

instead from persons seeking to perpetrate scams. For example, in some months between 2013

and 2016, more than half of instant message initiations and favorites that consumers received

originated from accounts that Defendants identified as “fraudulent,” meaning that Defendants

determined the Match.com user was likely to be perpetrating some form of scam.

       24.     Defendants used these fraudulent communications to induce consumers to

subscribe to Match.com. When consumers received these communications, they also received

accompanying advertisements from Defendants encouraging them to subscribe to Match.com in

order to view the content of the communication and the identity of the sender. These

advertisements did not disclose whether Defendants had identified the Match.com user as likely

to attempt to defraud the consumer receiving the message or as requiring further review by

Match’s fraud review process due to the likelihood that the user is engaging in fraud.

       25.     Specifically, when nonsubscribers have received likes, favorites, emails, and

instant messages on Match.com, they have also received automatically generated emailed

advertisements from Defendants encouraging them to subscribe to Match.com to view the

identity of the sender or the communication they received. These advertisements represent that

the communication the nonsubscriber received was sent from a legitimate user of the site who

has expressed interest in the consumer receiving the message:

       match.com

               He just emailed you!

               You caught his eye and now he’s expressed

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                 interest in you… Could he be the one?

          READ HIS EMAIL >>


       You will be notified when other Match.com members express interest in you.

       Please note: This email may contain advertisements.

       Match.com P.O. Box 25472, Dallas TX 75225

       26.       Consumers also receive discount offers for subscription packages at reduced

prices that similarly represent expressly that specific Match.com users are interested in them:

       S o me o ne ’s Int e r e s t e d in Y o u !
       [username], 1 woman has shown interest in you this month!
       And best of all, PAY 25% LESS when you subscribe today. Find out
       who’s interested and save big with this limited-time offer!
       Match.com Members

       *At least one member has sent you a wink or email, like your photo, added you to their Favorites, or rated you “Yes” in

       their Daily Matches.

       Offer expires [date] at 11:59 Central Time. Match.com reserves the right to modify or discontinue promotions at any time.

       Because you asked to be notified of Match.com Special Offers, we will send you emails such as this on a periodic basis.

       To unsubscribe from this type of email, please click here within 30 days of receipt. Or contact Customer Service.

       Please note: This email may contain advertisements.

       Match.com P.O. Box 25472, Dallas TX 75225

       27.       Consumers reasonably believe, based upon these advertisements, that other

Match.com users are interested in establishing a possible dating relationship with them.

       28.       As a result, consumers have often purchased Match.com subscriptions from

Defendants so that they can communicate with the users that Defendants have advertised as

being interested in them.

       29.       When consumers subscribe to view these communications, they either gain access

to the fraudulent communication or receive a notification stating that the profile that sent the

communication is “unavailable.” This outcome depends upon whether consumers subscribe to

Match.com before or after Defendants complete its fraud review process: if the consumer


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subscribes before the review is completed, the consumer receives the communication that was

sent; if Defendants have already completed its review process and deleted the account as

fraudulent before the consumer subscribes, the consumer will receive a notification that the

profile is “unavailable.”

       30.     Indeed, in numerous instances, Defendants have not notified consumers that the

Match.com users contacting them were removed from Match.com due to the high likelihood that

these users were seeking to defraud consumers.

       31.     When consumers contact Defendants to complain about subscribing to Match.com

only to receive a notification that a sender’s account is “unavailable,” Defendants have replied,

“Please be assured, Match.com does not send members misleading notifications, e-mails or

winks professing romantic interest. We have too much respect for our members to ever

compromise their trust. If you have received communications from members with profiles that

are not immediately available, the member may have temporarily hidden their profile.”

       32.     Between at least 2013 and mid-2017, Defendants tracked the number of fraud-

generated personalized advertisements it sent to nonsubscribers and those advertisements’ effect

on Match.com’s subscriber numbers.

       33.     Hundreds of thousands of consumers subscribed to Match.com shortly after

receiving a fraudulent communication. In fact, Defendants have consistently tracked how many

subscribers these communications have generated, typically by measuring the number of

consumers who subscribe to Match.com within 24 hours of receiving an advertisement that touts

a fraudulent communication. From June 2016 to May 2018, for example, Defendants’ analysis

found that consumers purchased 499,691 subscriptions within 24 hours of receiving an

advertisement touting a fraudulent communication.



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     Defendants Exposed Consumers to the Risk of Falling Victim to Fraud by Marketing
       Communications from Users That It Knew to be Likely to be Engaging in Fraud

       34.     Defendants are aware that these communications reach consumers and

automatically generate personalized advertisements encouraging them to subscribe to

Match.com. In fact, Defendants screen users that send communications through Match.com to

identify users that are likely to be perpetrating romance scams or other frauds. In many instances,

Defendants have withheld communications sent by these users.

       35.     Between 2013 and mid-2018, however, Defendants delivered email

communications from fraud-flagged users to nonsubscribers while withholding them from

subscribers until it had completed its fraud review. If, for example, a user Defendants flagged as

potentially fraudulent had sent three emails to subscribers and three emails to nonsubscribers,

Defendants would have withheld the three emails sent to subscribers until its fraud review was

complete while allowing the three emails sent to nonsubscribers to reach their recipients.

       36.     Without this practice, the vast majority of these fraud-flagged Match.com users

would never have been able to contact their intended recipients: between June 2016 and the

beginning of May 2018, for example, approximately 87.8 percent of accounts whose messages

Defendants withheld were later confirmed by Defendants to be fraudulent.

       37.     As a result, consumers who subscribed to Match.com after receiving an ad touting

these messages were at risk of receiving communications that Defendants knew to be from users

that were likely to be engaging in fraud. Between June 2016 and the beginning of May 2018, for

example, Defendants delivered approximately 4 million communications that Defendants would

have withheld had the approximately 2.25 million consumers who received them already been

subscribers when the communications were sent. More than 250,000 of those consumers

subscribed to Match.com within 24 hours of receiving the email communications.

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       38.     Due to these practices, Defendants delivered millions of advertisements to

consumers touting communications that Defendants knew to be sent by users likely engaging in

fraud and that those consumers would not have received had they already been subscribers to

Match.com. In addition, consumers who subscribed to Match.com to view these communications

were placed at risk of falling victim to a romance scam or other form of fraud.

       Defendants’ Use of Deceptive Guarantees to Promote Match.com Subscriptions

       39.     Consumers interested in using Defendants’ online dating services can purchase a

subscription from the Match.com website. Until mid-2019, consumers who visit the Match.com

website were offered a “match GUARANTEE” if they purchased a six-month subscription:




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       40.     When consumers hovered their cursors over the “match GUARANTEE”

hyperlink, Defendants promised a free six-month subscription to any consumer who purchased a

six-month paid subscription but did not “meet someone special” during the first six months:




       41.     Although Defendants’ offer did not disclose that the guarantee is subject to any

additional terms or conditions, consumers who clicked “Learn more” were directed to a rules page

that provided several requirements that the consumer had to satisfy to receive the guarantee.

       42.     According to the “Learn more” page, consumers had to sign up for a six-month

subscription, create a truthful public profile with a primary photo, initiate or respond to

communications with at least five unique Match.com members each month, and comply with the

guarantee program rules:




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       43.     Underneath this description, Defendants provided a lengthy “Program Rules”

section. This section provided six bolded, individually numbered eligibility rules that explained

the requirements further, including both maintaining a public profile photo that is approved by

Match.com and contacting five unique Match.com subscribers each month. For example, the

rules clarify that to satisfy the primary photo requirement, consumers must submit a photo and

have it approved by Defendants within the first seven days of purchasing the guarantee:




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       44.    After the numbered list of rules, the page contained several unnumbered

paragraphs. Despite containing neither numbered nor conspicuously set off language, these

paragraphs contained additional requirements related to consumers’ ability to comply with

Defendants’ Match guarantee program rules.




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       45.     Consumers who continued reading after the numbered list of requirements would

find that Defendants’ website included a “progress page” tracking their compliance with the

guarantee’s rules that consumers must access to comply with the offer’s terms:




       46.     Consumers who view the progress page were reminded that they were required to

create a public profile with a photograph and to start a conversation with at least five Match.com

members each month, but not that they must provide an approved photo within the first seven

days of subscribing or that the members they contact must be subscribers:




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        47.    In numerous instances, however, consumers were unaware of the existence of the

progress page and did not understand the requirements of the guarantee.

        48.    Consumers who continued reading after the numbered list of requirements and the

progress page description would also find an additional requirement to receive the free six-month

package: they had to “accept” the free six months during the final week of the initial six-month

term.


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       49.     Consumers were often not aware that they must accept the guarantee during the

final week of their initial subscription because this requirement was not clearly or conspicuously

disclosed alongside the guarantee’s other requirements.

       50.     Moreover, even when consumers were aware that they must timely accept the

guarantee, consumers had to also access their progress page during the last week of their initial

six-month period and answer the question, “Did you meet anyone during your 6-month guarantee

program?”




       51.     According to one of Defendants’ customer service executives, this question has

been “obviously misunderstood” by many consumers, who believed it to ask whether they met

anyone at all through the service instead of whether they met “someone special.” Consumers

who responded “Yes” to the question are prohibited from claiming a guarantee.

       52.     As a result of Defendants’ failure to clearly disclose the guarantee program

requirements and to maintain a clear process to claim the guarantee, few consumers received the

free six-month subscription that they were promised. Instead, consumers were often surprised to

find that their payment instruments were billed for another six-month subscription at the end of

the initial period due to the negative option feature of Match.com’s subscriptions.


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       53.      Between 2013 and 2016, consumers purchased nearly 2.5 million subscriptions

subject to the guarantee but only received 32,438 free six-month subscription packages during

the same period. In contrast, Defendants billed nearly 1 million consumers who purchased a

guarantee for an additional six-month package when the first six-month period expired.

         Defendants’ Billing and Cancellation Practices for Match.com Subscriptions

       54.      Consumers who purchase a subscription package must complete an online

enrollment process at Match.com and provide their credit card or other payment information to

pay for the initial subscription package. Defendants’ subscription packages include a “negative

option renewal” feature, meaning that Defendants will automatically charge consumers for a new

term at the end of each subscription period, unless the consumer has affirmatively canceled the

subscription.

       55.      Consumers who subscribe to Match.com thus continue to have their subscriptions

renewed and are charged until they affirmatively act to cancel their subscriptions. Often,

consumers who attempt to cancel their Match.com subscriptions or subscription renewals are

deterred by confusing and cumbersome cancellation practices.

       56.      To cancel a Match.com subscription, consumers must complete several steps.

After locating the cancellation tab and inputting their passwords, consumers have first either had

to click through a “retention offer” or, as of 2017, a “Cancel Subscription” hyperlink.

       57.      Next, subscribers have had to click through two pages of survey questions, in

which the subscriber’s response to one question causes a follow-up question to pop up. For

example, clicking “I had too much going on and did not have time to date,” results in the follow

up question, “When do you feel you might be ready to date again?” with three possible answers.

Finally, consumers reach the cancellation confirmation page.



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       58.     Defendants illustrated the cumbersome nature of this process in a 2015 internal

presentation, the notes to which described the cancellation flow as “hard to find, tedious, and

confusing. Members often think they’ve cancelled when they have not and end up with unwanted

renewals. The current process takes over 6 clicks”:




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       59.      Thousands of consumers have complained about Match.com’s cancellation

procedures. They have also claimed that Defendants have billed them after they believed they

effectively canceled their Match.com subscriptions.

       60.      Defendants’ executives have acknowledged that Match.com’s cancellation

process is “convoluted and confusing.” Defendants’ head of customer service stated in 2016, for

example, that “it’s been the same complaint for the past decade that I’ve been with Match . . . It

takes up to 7 or 8 clicks to complete the flow to turn off [subscriptions] if you can even figure

out how to do it.”

                Defendants’ Terminating Accounts in Response to Billing Disputes

       61.      Because of Defendants’ deceptive advertising, billing, and cancellation practices,

consumers often raise billing disputes with Defendants. In numerous instances, consumers

dispute Defendants’ charges through their financial institutions.

       62.      When consumers dispute these charges, Defendants contest the disputes. Until

mid-2019, when Defendants prevailed in a billing dispute, Defendants often failed to provide

consumers access to their Match.com accounts or to the subscription services that the consumers

paid for. Instead, Defendants terminated the consumers’ accounts and deleted their profiles.

       63.      In fact, Match.com’s Terms of Use warned that if Defendants “successfully

dispute[] the reversal [of charges], and the reversed funds are returned, you are not entitled to a

refund or to have your account or subscription reinstated.” Defendants placed this disclosure near

the end of its lengthy Terms of Use document and not set it off or otherwise made it conspicuous

to consumers.

       64.      Defendants estimated that 60 percent of chargebacks occur within one month of

the disputed charge and that 82 percent of chargebacks occur within the first two months of the



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charge. Thus, consumers who disputed a charge and lost the dispute often had remaining time in

their 3-, 6-, or 12-month subscriptions and have been banned from accessing the services they

paid for.

       65.     Based on (a) Defendants’ long history of continuous conduct of the type described

above; (b) Defendants’ continued use of the practices challenged above—including delivering

communications from fraud-flagged accounts sent to nonsubscribers while withholding them

from subscribers—after learning of the Commission’s investigation; (c) Defendants’ continued

use of the personalized advertisements, guarantee offers, cancellation practices, and account

termination practices described above; and (d) the ease with which Defendants can engage in or

resume similar conduct, the FTC has reason to believe that Defendants are violating or is about

to violate laws enforced by the Commission.

                              VIOLATIONS OF THE FTC ACT

       66.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

or practices in or affecting commerce.”

       67.     Misrepresentations or deceptive omissions of material fact constitute deceptive

acts or practices prohibited by Section 5(a) of the FTC Act.

       68.     Acts or practices are unfair under Section 5 of the FTC Act if they cause or are

likely to cause substantial injury to consumers that consumers cannot reasonably avoid

themselves and that is not outweighed by countervailing benefits to consumers or competition.

15 U.S.C. § 45(n).




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                                         Count I
                 Misrepresentation Regarding Users of Defendants’ Service
                        (Alleged against Match Group, LLC, only)

       69.     In numerous instances in connection with the advertising, marketing, promotion,

offering for sale, or sale of its online dating service, Match Group, LLC has represented, directly

or indirectly, expressly or by implication, that communications received by consumers using

Match.com are from people interested in establishing a dating relationship with those consumers.

       70.     In truth and in fact, in numerous instances in which Match Group, LLC has made

the representation set forth in Paragraph 69 of this Complaint, the communications received by

consumers using Match.com are not from people interested in establishing a dating relationship

with those consumers but are instead from fake accounts created by fraudsters to deceive

consumers.

       71.     Therefore, Match Group, LLC’s representation as set forth in Paragraph 69 of this

Complaint is false and misleading and constitutes a deceptive act or practice in violation of

Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

                                           Count II
                            Exposing Consumers to Risk of Fraud
                          (Alleged against Match Group, LLC, only)

       72.     Through the means described in Paragraphs 34-38, Match Group, LLC exposed

consumers to the risk of fraud by providing recent subscribers access to communications that

Match Group, LLC knew were likely to have been sent by persons engaging in fraud.

       73.     Match Group, LLC’s actions cause or are likely to cause substantial injury to

consumers that consumers cannot reasonably avoid themselves and that is not outweighed by

countervailing benefits to consumers or competition.




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       74.     Therefore, Match Group, LLC’s practices as described in Paragraph 72 above

constitute unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. §§ 45(a)

and 45(n).

                                           Count III
                                Deceptive “Guarantee” Program

       75.     In numerous instances in connection with the advertising, marketing, promotion,

offering for sale, or sale of its online dating service, Defendants have represented, directly or

indirectly, expressly or by implication, that consumers would receive a free six-month

subscription if they purchased a six-month Match.com subscription and did not “meet someone

special” during that initial six-month period on Match.com.

       76.     In numerous instances in which Defendants have made the representation set forth

in Paragraph 75 of this Complaint, Defendants have failed to disclose, or disclose adequately to

consumers, that the consumer must take specific steps to claim the guarantee during the final

week of the initial six-month subscription period, including (a) securing and maintaining a public

profile with a primary photo approved by Defendants within the first seven days of purchase, (b)

messaging five unique Match.com subscribers per month, and (c) using Defendants’ progress

page to redeem the free six months during the final week of the initial six-month subscription

period. This additional information would be material to consumers in deciding to purchase or in

their conduct regarding the online dating service that Defendants sell.

       77.     Defendants’ failure to disclose or disclose adequately the material information

described in Paragraph 76, above, in light of the representation described in Paragraph 75, above,

constitutes a deceptive act or practice in violation of Section 5 of the FTC Act, 15 U.S.C.

§ 45(a).




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                                          Count IV
                       Unfair Denial of Access to Consumers’ Accounts

       78.      In numerous instances, Defendants have barred consumers who have disputed

charges through their financial institutions from using paid-for Match.com subscription services.

          79.   Defendants’ actions cause or are likely to cause substantial injury to consumers

that consumers cannot reasonably avoid themselves and that is not outweighed by countervailing

benefits to consumers or competition.

          80.   Therefore, Defendants’ practices as described in Paragraph 78 above constitute

unfair acts or practices in violation of the FTC Act, 15 U.S.C. §§ 45(a) and 45(n).

                 VIOLATIONS OF THE RESTORE ONLINE SHOPPERS’
                               CONFIDENCE ACT

       81.      In 2010, Congress passed ROSCA, 15 U.S.C. §§ 8401-05, which became

effective on December 29, 2010. Congress passed ROSCA because “[c]onsumer confidence is

essential to the growth of online commerce. To continue its development as a marketplace, the

Internet must provide consumers with clear, accurate information and give sellers an opportunity

to fairly compete with one another for consumers’ business.” Section 2 of ROSCA, 15 U.S.C.

§ 8401.

       82.      Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging consumers

for goods or services sold in transactions effected on the Internet through a negative option

feature, as that term is defined in the Commission’s Telemarketing Sales Rule (“TSR”), 16

C.F.R. § 310.2(w), unless the seller (a) clearly and conspicuously discloses all material terms of

the transaction before obtaining the consumer’s billing information, (b) obtains the consumer’s

express informed consent before making the charge, and (c) provides a simple mechanism to

stop recurring charges. See 15 U.S.C. § 8403(1)–(3).



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       83.     The TSR defines a negative option feature as: “an offer or agreement to sell or

provide any goods or services, a provision under which the consumer’s silence or failure to take

an affirmative action to reject goods or services or to cancel the agreement is interpreted by the

seller as acceptance of the offer.” 16 C.F.R. § 310.2(w).

       84.     Pursuant to Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of ROSCA is

treated as a violation of a rule promulgated under Section 18 of the FTC Act, 15 U.S.C. § 57a.

       85.     Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A), authorizes this

Court to award monetary civil penalties for each violation of ROSCA. The Defendants’

violations of ROSCA were committed with the knowledge required by Section 5(m)(1)(A) of the

FTC Act, 15 U.S.C. § 45(m)(1)(A).

                                       Count V
    Failure to Provide a Simple Mechanism for Consumers to Stop Recurring Charges

       86.     In numerous instances, in connection with charging consumers for goods or

services sold in transactions effected on the Internet through a negative option feature, as

described in Paragraphs 54-60 above, Defendants have failed to provide simple mechanisms for

a consumer to stop recurring charges from being placed on the consumer’s credit card, debit

card, bank account, or other financial account.

       87.     Defendants’ practices as described in Paragraph 86, above, violate Section 4 of

ROSCA, 15 U.S.C. § 8403.

                                     CONSUMER INJURY

       88.     Consumers have suffered and will continue to suffer substantial injury as a result

of Defendants’ violations of the FTC Act and ROSCA. Absent injunctive relief by this Court,

Defendants are likely to continue to injure consumers and harm the public interest.




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                                  PRAYER FOR RELIEF

      89.    Wherefore, Plaintiff requests that the Court:

             a. Enter a permanent injunction to prevent future violations of the FTC Act and

                   ROSCA by Defendants;

             b. Award monetary and other relief within the Court’s power to grant;

             c. Award monetary civil penalties from each Defendant for every violation of

                   ROSCA; and

             d. Award any additional relief as the Court may determine to be just and proper.



                                           Respectfully submitted,


Dated: 7/18/2022                           /s/ REID TEPFER
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